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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHY TOWNSEND GRIFFIN, etal,
Plaintiffs,

vs. ECF CASE
17-CV-5221 (LLS)
EDWARD CHRISTOPHER SHEERAN, et.al.,

Defendants. PLAINTIFFS’ RESPONSE TO
DEFENDANTS’ OPPOSITION
TO PLAINTIFFS’ FIFTH
MOTION IN LIMINE

/

 

THE ENUMERATED PLAINTIFFS, collectively, Respond to the Defendants’
Opposition to the Plaintiffs’ Fifth Motion in Limine which seeks to exclude Defendants’
Musicologist’s proposed Slides 13-16, 19-21, 22, 40, 48-50, and 51, constituting purported
“Prior Art” the Defendants’ musicologist apparently intends to play, disseminate, and/or
reference at trial and, as basis therefore, would state as follows:

1. Asa preliminary matter, the Plaintiffs apologize for the additional filing embodied
herein and do not wish to unduly burden the Court.

2. However, responsive to the Plaintiffs’ Fifth Motion in Limine, which, in pertinent
part, seeks to exclude certain anticipated testimony from being proffered by the Defendants’
musicologist, Lawrence Ferrera, the Defendants’ have filed a memorandum and supporting
papers which, respectfully, it is believed are somewhat misleading in its scope and breadth.

3. By way of addition, the Defendants have repeatedly accused the Plaintiffs of
impermissibly attempting to avail themselves of inadmissible evidence and/or running

afoul of prior evidentiary rulings of this Court while simultaneously (and not without
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some measure of irony, albeit apparently unacknowledged by the same) furtively insinuate their
own improper and inadmissible evidence under the proverbial “radar”—the Defendants’
oppositional papers constitute a continuation of this practice.

4. To be clear, the Plaintiffs, collectively, are seeking an Order from this Court
precluding the Defendants’ musicologist, Lawrence Ferrera, from testifying as to new
songs that were not previously disclosed in the course of discovery attendant to this case
as constituting so-called ‘prior art’ and—not insignicantly—omitted from any of Lawrence
Ferrara’s expert reports.

5. While the Defendants contend that the basis of the Fifth Motion in Limine is
supposedly “made up”, what they conspicuously do not say (because they cannot) is that
Lawrence Ferrara disclosed the prior art at issue in any of his previous opinions and/or reports
during discovery in this case.!

6. The Defendants oppositional response is a study in obfuscation, going to great lengths
referencing one (1) e-mail exchange from the Fall of 2020 and recent e-mails from the last
several months, as well as the pretrial stipulation of the enumerated Parties filed several weeks
ago on March 15, 2023, in support of some manner of elusive premise that the prior art only
now relied upon by the Defendants was properly disclosed.

7. By way of addition, said response contains the typical, rote characterizations that
have become part-and-parcel in the Defendants’ pleading practice of late repeatedly attempting
to preemptively diminish the strength of the Plaintiffs’ case before the Court and, erroneously,
suggesting that the Plaintiffs’ Fifth Motion in Limine is borne of purported ‘desperation’.

8. In reality, the Plaintiffs, collectively, are far from concerned or intimidated by the

prospective testimony of the Defendants’ witness, Lawrence Ferrera, who is, in fact, an

 

1 Upon reasonable information and belief, it would seem that the ONLY SONG previously referenced in Lawrence
Ferrara’s reports was “Six Pack Summer”.
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eminently impeachable witness whose musicological theories are neither sound, nor reasonably
tethered to any manner of generally-accepted musicological principles or methodology.

9. In point of fact, the Plaintiffs look forward to the opportunity to vigorously cross-
examine the same especially given the fact that, prior to recent days, the cornerstone of the
Defendants’ defensive arguments with respect to so-called ‘prior art’ seems to have been
predicated upon a Spanish-language version of The Seekers song, “Georgy Girl”, that—to all
appearances—was limited to airplay in Mexico and seems to have only been heard by
Lawrence Ferrera, himself.

10. Within the context of the Defendants’ gratuitous statements attempting to disparage
the Plaintiffs’ expert, Dr. Alexander Stewart, it is abundantly worthwhile to note that the
Defendants have filed no less than a half-dozen motions” attempting to curtail his testimony—
one might reasonably glean that those efforts are borne out of genuine concern as to the
anticipated compelling nature of his testimony.

11. What is a point of concern for the Plaintiffs, however, is an equal playing field—the
irony of the Defendants’ oppositional response herein is that the Defendants previously presented
precisely the same issue vis a vis an earlier motion in limine from the Defendants, themselves,
decrying purported unfair surprise and/or prejudice attendant to the Defendants’ claim that the
Plaintiffs’ expert should be constrained from testifying as to prior art to the extent that it was not
embodied in his Rule 26 Report.

12. This Court granted the Defendants’ motion in limine with respect to the prior art

issue. Accordingly, it is no less than astonishing that the Defendants could attempt to plausibly

 

2 The only other apparent item on the agenda apart from repeatedly attempting to silence Dr. Stewart was borne
of the Defendants’ concerns as to the admission of evidence at trial as to the Defendant’s, Ed Sheeran’s, repeated
and pernicious history of infringement within the music industry. Plaintiffs, respectfully, believe that this robust
history of infringement is abidingly relevant for purposes of establishing “willfulness” within the context of the
damages portion of the proceedings. As such, Plaintiffs, respectfully, reserve the right to revisit this ruling with the
Court within the context of the forthcoming proceedings.

3 Notably Defendants’ filed the motion in limine in the former portion of 2020.

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assert that the Plaintiffs are not entitled to the same relief.

13. The Plaintiffs’ Fifth Motion in Limine is very simple—if Lawrence Ferrera did not
identify specific prior art in any of his reports during discovery, then he should be precluded
from testifying regarding the same. That is to say, if his reports did not include citations to
specific songs in his reports, then he should not be able to testify as to those heretofore
undisclosed songs. This was the relief sought and obtained by the Defendants attendant to their
previous motion in limine regarding the Plaintiffs’ expert testimony pertaining to prior art.
Plaintiffs merely seck a reciprocal ruling. It really is just that simple, notwithstanding the
Defendants attempts to misdirect the issue.

CONCLUSION

14. To the extent that the Plaintiffs are, in fact, incorrect in their understanding that
the songs embodied in the controverted slides (other than “Six Pack Summer”) were previously
disclosed by Lawrence Ferrera in his reports, the Defendants are cordially invited to correct the
record as to that misapprehension and to point out the precise time, manner, and place
where that opinion was disclosed. If the Defendants cannot demonstrate to the Court that the
songs at issue were a part of Lawrence Ferrara’s proffered opinions during discovery, then they
should be summarily excluded by this Court consistent with the prior evidentiary rulings
of this Court in favor of the Defendants with respect to the same issue.

WHEREFORE, the Plaintiffs, collectively, Motion this Court for the entry of an
Order Granting the Plaintiffs’ Fifth Motion in Limine, as well as providing for any
such other relief as this Court should deem equitable and just.

DATED this 20" day of April, 2023.
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FRANK & RICE, P.A.

Respectfully Submitted,

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